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  7   BackGrid USA, Inc.
  8
  9                          UNITED STATES DISTRICT COURT

 10                        CENTRAL DISTRICT OF CALIFORNIA

 11   BACKGRID USA, INC., a California              Case No.: 2:24-cv-8256
 12   corporation,
 13                   Plaintiff,                    COMPLAINT FOR COPYRIGHT
 14                                                 INFRINGEMENT
             v.                                     (17 U.S.C. § 501)
 15
 16   RECURRENT VENTURES INC.; and                  DEMAND FOR JURY TRIAL
      DOES 1-10, inclusive,
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                      Defendants.
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                                                COMPLAINT
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  1         Plaintiff, BackGrid USA, Inc., complains against Defendant Recurrent
  2   Ventures Inc. and Does 1-10 (collectively, “Defendants”) as follows:
  3                              JURISDICTION AND VENUE
  4         1.     This is a civil action against Defendants for acts of copyright
  5   infringement under the Copyright Act, 17 U.S.C. §§ 101 et seq. This Court has
  6   subject matter jurisdiction under 28 U.S.C. § 1331, 17 U.S.C. § 501(a), 28 U.S.C. §
  7   1332, and 28 U.S.C. § 1338(a) and (b).
  8         2.     Venue is proper in this district under 28 U.S.C. §§ 1391(b) and (c) and
  9   28 U.S.C. § 1400(a) in that the claim arises in this judicial district, and, on
 10   information and belief, the injury suffered by Plaintiff took place in this judicial
 11   district, and Defendants have purposefully directed their activities to California.
 12   Defendants are subject to the personal jurisdiction of this Court because of their
 13   contacts with the State of California.
 14                                            PARTIES
 15         3.     Plaintiff BackGrid, USA Inc. (“BackGrid”) is a California corporation
 16   existing under the laws of California, with its principal place of business located in
 17   Los Angeles, California.
 18         4.     On information and belief, Defendant Recurrent Ventures, Inc.,
 19   (“Recurrent”) is a corporation that exists under the laws of Delaware. On
 20   information and belief, its principal place of business is located in Miami, Florida.
 21         5.     The true names or capacities, whether individual, corporate, or
 22   otherwise, of the Defendants named herein as Does 1 through 10, inclusive, are
 23   unknown to Plaintiff, who therefore sues said Defendants by such fictitious names.
 24   Plaintiff will ask leave of Court to amend this Complaint and insert the true names
 25   and capacities of said Defendants when the same have been ascertained.
 26                       FACTS COMMON TO ALL COUNTS
 27                  Backgrid and the Photographs that Frame This Dispute
 28         6.     BackGrid owns and operates one of Hollywood’s largest celebrity-
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                                  FIRST AMENDED COMPLAINT
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  1   photograph agencies that has earned a reputation of regularly breaking scoops on
  2   sought after celebrity news. It owns the intellectual property rights, including the
  3   copyrights, to photographs that have been licensed to numerous top-tier outlets, such
  4   as TMZ, Entertainment Tonight, New York Post, People Magazine, Huffington Post,
  5   the Daily Mail, as well as many television stations, newspapers, and other prominent
  6   media outlets throughout the world. Each license has been granted for valuable
  7   consideration, up to hundreds of thousands of dollars.
  8         7.     Among many other in-demand works, BackGrid owns coveted
  9   photographs of Hailey Bieber and Rihanna (the “Celebrity Photographs”). Each of
 10   the Celebrity Photographs at issue in this action is timely registered. BackGrid filed
 11   for copyright registration of the Celebrity Photographs within 90 days of their first
 12   publication with the United States Copyright Office. Their copyright registration
 13   information is attached hereto as Exhibit A.
 14                       Defendant and Its Willfully Infringing Activity
 15         8.     Defendant owns and operates TheDrive.com (“TheDrive”), an online
 16   car culture magazine. Defendant touts TheDrive as the largest automotive media
 17   brand in the United States, that reaches an audience of greater than 7.7 million
 18   monthly. On information and belief, in addition to TheDrive, it operates a number
 19   of publications featuring automotive, home, culinary, military, outdoor, and science
 20   content and therefore regularly relies on the strictures of copyright law to protect its
 21   own content.
 22         9.     Despite Recurrent’s purported culture of “creativity” and “out-of-the-box
 23   thinking,” Defendants reproduced, distributed, displayed, and created unauthorized
 24   derivative works of the Celebrity Photographs on the TheDrive.com without consent
 25   or license, as shown in Exhibit B, which is incorporated herein by reference.
 26   BackGrid discovered Defendants’ infringement within the last three years.
 27         10.    Defendants violated federal law by willfully infringing BackGrid’s
 28   copyrights to at least four Celebrity Photographs on, at least, TheDrive.com.
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                                            COMPLAINT
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  1         11.    Defendants knew they did not have the right to post the Celebrity
  2   Photographs. Defendants are sophisticated publishers of expressive content and rely
  3   on the strictures of copyright protection in their own business. For example,
  4   Defendant Recurrent Ventures, Inc. has registered at least 307 of its own titles with
  5   the United States Copyright Office. Moreover, Recurrent Ventures, Inc. has received
  6   issued trademark registrations with the United States Patent and Trademark Office.
  7         12.    Defendants induced, caused, or materially contributed to the
  8   reproduction, distribution, and public display of the Celebrity Photographs and
  9   derivatives thereof, all while knowing or having reason to know of the infringement
 10   on TheDrive was without permission, consent, or license.
 11         13.    On information and belief, Defendants owned, operated and controlled
 12   TheDrive at all times relevant to this dispute and financially benefit from the
 13   infringement of the Celebrity Photographs displayed thereto. On information and
 14   belief, Defendants have driven significant traffic to TheDrive.com and therefore
 15   increased its revenues, in large part due to the presence of the sought after and
 16   searched-for Celebrity Photographs that frame this dispute. All of this traffic
 17   translates into substantial ill-gotten commercial advantage and brand awareness as a
 18   direct consequence of their infringing actions.
 19         14.    BackGrid attempted to resolve this dispute prior to filing this action by
 20   sending it settlement correspondence. Despite following up no less than seven times,
 21   Defendants did not respond to BackGrid’s correspondence.
 22                             FIRST CLAIM FOR RELIEF
 23                       (Copyright Infringement, 17 U.S.C. § 501)
 24         15.    BackGrid incorporates by reference the allegations in paragraphs 1
 25   through 14 above.
 26         16.    BackGrid is the owner of all rights, title, and interest in the copyrights
 27   of the Celebrity Photographs that frame this dispute, which substantially consist of
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                                           COMPLAINT
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  1   wholly original material, and which are copyrightable subject matter under the laws
  2   of the United States.
  3         17.    BackGrid filed for copyright registration of the Celebrity Photographs
  4   within 90 days of their first publication with the United States Copyright Office.
  5         18.    Defendants have directly, vicariously, contributorily and/or by
  6   inducement willfully infringed BackGrid’s copyrights by reproducing, displaying,
  7   distributing, and utilizing the Celebrity Photographs for purposes of trade in
  8   violation of 17 U.S.C. § 501 et seq.
  9         19.    All of the Defendants’ acts are and were performed without permission,
 10   license, or consent of BackGrid.
 11         20.    BackGrid has identified at least four instances of infringement by way
 12   of the unlawful reproduction and display of BackGrid’s photographs.
 13         21.    As a result of the acts of Defendants alleged herein, BackGrid has
 14   suffered substantial economic damage.
 15         22.    Defendants have willfully infringed, and unless enjoined, will continue
 16   to infringe BackGrid’s copyrights by knowingly reproducing, displaying,
 17   distributing, and utilizing its photographs by, among other things, virtue of
 18   Defendants’ encouragement of the infringement and financial benefits they receive
 19   from BackGrid’s copyrights.
 20         23.    The wrongful acts of Defendants have caused, and are causing, injury to
 21   BackGrid, which cannot be accurately computed, and unless this Court restrains
 22   Defendants from further commission of said acts, BackGrid will suffer irreparable
 23   injury, for all of which it is without an adequate remedy at law. Accordingly,
 24   BackGrid seeks a declaration that Defendants are infringing BackGrid’s copyrights
 25   and an order under 17 U.S.C. § 502 enjoining Defendants from any further
 26   infringement.
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                                             COMPLAINT
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  1          24.     The above-documented infringements alone would entitle BackGrid to
  2   a potential award of up to $150,000 per work in statutory damages for each of the
  3   four infringed photographs, in addition to its attorney’s fees.
  4                                  PRAYER FOR RELIEF
  5          WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
  6          1.      That the Defendants, and their officers, agents, servants, employees,
  7   and representatives, and all persons in active concert or participation with them, be
  8   permanently enjoined from copying, reproducing, displaying, promoting,
  9   advertising, distributing, or selling, or any other form of dealing or transaction in,
 10   any and all Photographs of BackGrid;
 11          2.      That an accounting be made for all profits, income, receipts or other
 12   benefit derived by Defendants from the unlawful reproduction, copying, display,
 13   promotion, distribution, or sale of products and services, or other media, either now
 14   known or hereafter devised, that improperly or unlawfully infringes upon Plaintiff’s
 15   copyrights pursuant to 17 U.S.C. § 504 (a)(1) & (b);
 16          3.      For actual damages and disgorgement of all profits derived by
 17   Defendants from their acts of copyright infringement, removal, and for all damages
 18   suffered by it by reasons of Defendant’s acts, under 17 U.S.C. § 504 (a)(1) & (b);
 19          5.      For statutory damages for copyright infringement, including willful
 20   infringement, in accordance with 17 U.S.C. § 504(a)(2) & (c);
 21          6.      For reasonable attorneys’ fees incurred herein pursuant to 17 U.S.C. §
 22   505;
 23          7.      For costs and interest pursuant to 17 U.S.C. § 504 (a)(1) & (b), 17
 24   U.S.C. § 505; and
 25          8.      For any such other and further relief as the Court may deem just and
 26   appropriate.
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 28   Dated: September 25, 2024                       ONE LLP
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                                            COMPLAINT
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  2
                                                By: /s/ Joanna Ardalan
  3                                                 Joanna Ardalan
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  5                                                   BackGrid USA, Inc.
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                                      COMPLAINT
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  1                            DEMAND FOR JURY TRIAL
  2         Plaintiff BackGrid USA, Inc., hereby demands trial by jury of all issues so
  3   triable under the law.
  4
  5   Dated: September 25, 2024                    ONE LLP
  6
  7                                                By: /s/ Joanna Ardalan
                                                       Joanna Ardalan
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  9                                                      Attorneys for Plaintiff,
 10                                                      BackGrid USA, Inc.

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                                  DEMAND FOR JURY TRIAL
